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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA

 RANDY JOE MOODY,

                Plaintiff,

 v.                                              Case No. 20-CIV-99-RAW-KEW

 KILOLO KIJAKAZI, Commissioner of The
 Social Security Administration,

                Defendant.



              ORDER REMANDING CASE FOR FURTHER PROCEEDINGS

         On September 14, 2021, the United States Magistrate Judge entered a Report and

Recommendation recommending that the above-styled case be reversed and remanded for further

proceedings [Docket No. 26].   The Magistrate Judge found that correct legal standards were not

applied by the Administrative Law Judge and the decision of the Commissioner is therefore not

supported by substantial evidence. The time for objection has passed, and no objection has been

filed.

         IT IS THEREFORE ORDERED that the decision of the Administrative Law Judge is

hereby REVERSED and this case is hereby REMANDED pursuant to the fourth sentence of 42

U.S.C. '405(g) for further administrative proceedings.

         IT IS SO ORDERED this 29th day of September, 2021.




                                            _______________________________________
                                            HONORABLE RONALD A. WHITE
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF OKLAHOMA
